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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

CHRISTOPHER BUCHANAN                                          PLAINTIFF
ADC #176655

v.                         No. 2:21-cv-13-DPM

AUSTIN WILSON, Officer                                    DEFENDANT

                                   ORDER
       Joint motion, Doc. 233, granted. The Court thanks Magistrate
Judge Ervin for her work at the settlement conference.          Doc. 232.
Recommended disposition, Doc. 200, denied as moot. The Court will
dismiss the case with prejudice and retain jurisdiction for a time to
enforce the parties' settlement.
     So Ordered.



                                                         t/
                                       D.P. Marshall Jr.
                                       United States District Judge
